                    Case 1:21-cr-00053-CJN                 Document 1        Filed 01/15/21          Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                      DistrictDistrict
                                                 __________    of Columbia
                                                                       of __________

                  United States of America                         )
                             v.                                    )
                  EDWARD JACOB LANG
                                                                   )      Case No.
                                                                   )
                                                                   )
                                                                   )
                                                                   )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   January 6, 2021              in the county of                                   in the
                       District of           Columbia          , the defendant(s) violated:

            Code Section                                                      Offense Description
18 U.S.C. § 111(b)                              Assaulting, Resisting, or Impeding Certain Officers or Employees
18 U.S.C. § 231(a)(3)                           Civil Disorder
18 U.S.C. § 1752(a)                             Restricted Building or Grounds
40 U.S.C. § 5104(e)(2)                          Violent Entry or Disorderly Conduct




         This criminal complaint is based on these facts:
See attached affidavit.




         ✔ Continued on the attached sheet.
         u


                                                                                              Complainant’s signature

                                                                                     Special Agent LaNard Taylor, FBI
                                                                                               Printed name and title

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7HOHSKRQH VSHFLI\UHOLDEOHHOHFWURQLFPHDQV                                                               G. Michael Harvey
                  01/15/2021                                                                                2021.01.15 09:13:42 -05'00'
Date:
                                                                                                 Judge’s signature

City and state:                         Washington, D.C.                         G. Michael Harvey, U.S. Magistrate Judge
                                                                                               Printed name and title
